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                                       #:160


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   Attorneys for Plaintiff,
12 Elizabeth Ashley Davis
13
                      IN THE UNITED STATES DISTRICT COURT
14
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                WESTERN DIVISION
16
17 Elizabeth Ashley Davis,               Case No.: 8:21-cv-01093-JLS-ADS

18                  Plaintiff,
19
           vs.                                     NOTICE OF SETTLEMENT AS TO
20                                                 TRANS UNION, LLC
21 Trans Union, LLC.,
22                  Defendant.
23
24               NOTICE IS HEREBY GIVEN that Plaintiff and Defendant Trans Union,
25
     LLC in the above-captioned case have reached a settlement. Plaintiff anticipates
26
27
28

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                                        #:161


 1 filing a Stipulation of Dismissal with Prejudice as to Trans Union, LLC pursuant to
 2
   Fed. R. Civ. P. 41(a) within 60 days.
 3
 4        RESPECTFULLY SUBMITTED this 14th day of March, 2022.
 5
 6
                                                   KENT LAW OFFICES
 7
 8
                                                   By: /s/ Trinette G. Kent
 9                                                 Trinette G. Kent
10                                                 Attorneys for Plaintiff,
                                                   Elizabeth Ashley Davis
11
12
13
14
                                   CERTIFICATE OF SERVICE
15
16 I hereby certify that I electronically transmitted the attached document to the Clerk’s Office
     using the CM/ECF System for filing, and for transmittal of a Notice of Electronic Filing to
17 the following CM/ECF Registrants, and mailed a copy of same to the following if non-
18 registrants on the 14th day of March, 2021.
19 /s/ Trinette G. Kent
20 Kent Law Offices
     3219 E. Camelback Road, Suite 588
21 Phoenix, AZ 85108
22
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24
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27
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